           Case 2:07-cr-00497-LKK Document 32 Filed 01/02/08 Page 1 of 3


 1   John R. Manning
     Attorney at Law
 2   Ca. St. Bar No. 220874
     1812 J Street, Suite 22
 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   Nicholas Martinez-Fernandez

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-07-497 LKK
                                   )
11             Plaintiff,          )        AMENDED STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   Arturo Martinez, et al.       )
                                   )        Date:    1/3/08
14             Defendants.         )        Time:    9:30 a.m.
     ______________________________)        Judge:   Hon. Lawrence K.
15                                                   Karlton

16        IT IS HEREBY stipulated between the United States of America

17   through its undersigned counsel, Michael Beckwith, Assistant

18   United States Attorney, together with counsel for defendant

19   Nicholas Martinez-Fernandez, John R. Manning Esq., and counsel

20   for defendant Jesus Soto-Farias, Lexi Negin Esq., that the status

21   conference presently set for January 3, 2008 be continued to

22   February 12, 2008, at 9:30 a.m., thus vacating the presently set

23   status conference.

24        It is further stipulated between the United States of

25   America through its undersigned counsel, Michael Beckwith and

26   counsel for defendant Arturo Martinez, Dina Santos Esq., that the

27   status conference presently set for January 3, 2008 be continued

28   to January 8, 2008, at 9:30 a.m., thus vacating the presently set
                                        1
           Case 2:07-cr-00497-LKK Document 32 Filed 01/02/08 Page 2 of 3


 1   status conference.

 2        Counsel for the parties agree that this is an appropriate

 3   exclusion of time within the meaning of Title 18, United States

 4   Code § 3161(h)(8)(B)(iv) (continuity of counsel/ reasonable time

 5   for effective preparation) and Local Code T4, and agree to

 6   exclude time from the date of the filing of the order until the

 7   date of the status conference January 8, 2008 for defendant

 8   Arturo Servin Martinez and February 12, 2008 for defendants Jesus

 9   Soto-Farias and Nicholas Martinez-Fernandez.

10

11   IT IS SO STIPULATED.

12   Dated: December 28, 2007                   /s/ John R. Manning
                                              JOHN R. MANNING
13                                            Attorney for Defendant
                                              Nicholas Martinez-Fernandez
14

15   Dated: December 28, 2007                   /s/ Dina Santos
                                              Dina Santos
16                                            Attorney for Defendant
                                              Arturo Martinez
17

18
     Dated: December 28, 2007                   /s/ Lexi Negin
19                                            Lexi Negin
                                              Attorney for Defendant
20                                            Jesus Soto-Farias

21

22   Dated: December 28, 2007               McGREGOR W. SCOTT
                                            United States Attorney
23

24                                      by:     /s/ Michael Beckwith
                                              Michael Beckwith
25                                            Assistant U.S. Attorney

26

27

28
           Case 2:07-cr-00497-LKK Document 32 Filed 01/02/08 Page 3 of 3


 1                  IN THE UNITED STATES DISTRICT COURT

 2                FOR THE EASTERN DISTRICT OF CALIFORNIA

 3

 4

 5

 6   UNITED STATES OF AMERICA,       ) Case No. CR.S-07-497 LKK
                                     )
 7                  Plaintiff,       )
                                     )
 8        v.                         ) ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
 9   Arturo Martinez, et al.         )
                                     )
10                  Defendants.      )
     _______________________________ )
11                                   )

12

13        GOOD CAUSE APPEARING, it is hereby ordered that the January

14   3, 2008 status conference be continued to January 8, 2008 at 9:30

15   a.m. for defendant Arturo Servin Martinez and February 12, 2008

16   at 9:30 a.m. for defendants Nicholas Martinez-Fernandez and Jesus

17   Soto-Farias. I find that the ends of justice warrant an exclusion

18   of time and that the defendant’s need for continuity of counsel

19   and reasonable time for effective preparation exceeds the public

20   interest in a trial within 70 days.      THEREFORE IT IS FURTHER

21   ORDERED that time be excluded pursuant to 18 U.S.C. §

22   3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

23   to January 8, 2008 for defendant Arturo Servin Martinez and

24   February 12, 2008 for defendants Jesus Soto-Farias and Nicholas

25   Martinez-Fernandez.

26   IT IS SO ORDERED.

27   Dated: January 2, 2008

28
                                        3
